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  1                                                           September 29, 2021

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  8                       UNITED STATES DISTRICT COURT
  9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                              WESTERN DIVISION
  11
     BRIDGET MCCARTHY, individually              Case No.: 2:20-CV-04668-SB(JEMx)
  12 and on behalf of all others similarly
     situated,                                   [Assigned to the Hon. Stanley
  13                                             Blumenfeld, Jr.]
                     Plaintiff,
  14                                             ORDER OF DISMISSAL
            v.
  15                                             Fed. R. Civ. P. 41(a)(1)(A)(ii)
     LOYOLA MARYMOUNT
  16 UNIVERSITY,
  17
                    Defendant.
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Case 2:20-cv-04668-SB-JEM Document 73 Filed 09/29/21 Page 2 of 2 Page ID #:885




  1                                     ORDER OF DISMISSAL
  2          The Court, having considered the parties’ Stipulation for Dismissal Pursuant to
  3    Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby dismisses the
  4    above-entitled action with prejudice. In the event there is a future settlement or
  5    judgment of class action or global resolution of claims against LMU as pled in the
  6    First Amended Complaint in this action, then Plaintiff shall not be prohibited from
  7    obtaining the benefit of such settlement or judgment as a member of the class or
  8    global resolution group.
  9          The Court VACATES all dates and deadlines. The Clerk of the Court shall
  10 close the case.
  11         IT IS SO ORDERED.
  12
  13 Dated: 9/29/2021
                                                   Stanley Blumenfeld, Jr.
  14
                                                  United States District Judge
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